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 6   Attorneys for Plaintiffs
 7
 8                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
 9
10        IN RE: ROUNDUP PRODUCTS                              MDL No. 2741
             LIABILITY LITIGATION
11
     Philip Glassman v. Monsanto Company,                Case No. 3:16-md-02741-VC
12   3:20-cv-00024-VC
13                                                   NOTICE OF WITHDRAWAL OF
     Deborah Iona v. Monsanto Company,              CERTAIN GENERAL CAUSATION
14   3:20-cv-02404-VC                                        EXPERTS
15
     Sharon Berenfeld v. Monsanto Company,
16   3:18-cv-01428-VC
17
     Mark Proctor v. Monsanto Company,
18   3:21-cv-00172-VC
19
     Jean Belfleur v. Monsanto Company,
20   3:20-cv-00621-VC
21
     Matthew Thompson v. Monsanto Company,
22   3:20-cv-08851-VC
23
     Christopher Holmes v. Monsanto Company,
24   3:20-cv-03363-VC
25
26          PLEASE TAKE NOTICE that Plaintiffs in the above-captioned matters hereby
27   withdraw the following general causation experts: Dr. Ron Schiff (Doc. No. 18982), Dr.
28   Chadi Nabhan (Doc. No. 18992), and Dr. Thomas Miller (Doc. No. 18963). Accordingly,
     Case 3:16-md-02741-VC Document 19302 Filed 09/27/24 Page 2 of 2




 1   the corresponding motions should be denied as moot.
 2
 3   Dated: September 27, 2024                 Respectfully submitted,

 4                                             /s/Jeffrey L. Haberman
 5                                             Jeffrey L. Haberman
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11
12                               CERTIFICATE OF SERVICE
13
14          I hereby certify that on September 27, 2024, I served a copy of the foregoing on
     the Clerk of Court by CM/ECF, which will provide automatic notification to all parties
15   and counsel of record.
16                                              Jeffrey L. Haberman
                                               Jeffrey L. Haberman
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